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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION



WAYNE H. NORMAN,                                         Civil Action File No.
         Plaintiff,


vs.                                                       1:18-CV-00643

TED THOMAS, &
TOM BEGANI,
     Defendants.



NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT
                 TO F.R.C.P. 41(a)(1)(A)(i)

      Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,

Plaintiff, Wayne H. Norman, hereby give notice that the above captioned action is

voluntarily dismissed, with prejudice against the Defendants Ted Thomas & Tom

Begani, Landlords.

                                                              Respectfully submitted,

                                                                   /s/Wayne Norman
                                                                   Wayne H. Norman
                                                                 501 Madison, Apt. 2
                                                              Oak Park, Illinois 60302
                                                             whnorman@hotmail.com
